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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:
                                                              Case No: 8:19-bk-03059-RCT
Karin D. Case                                                 Chapter 7

Debtor.


                     MOTION TO SELL REAL PROPERTY AND
              PAY SECURED CREDITOR(S) AND TRANSACTIONAL COSTS
                       (615 6th Ave N Safety Harbor, FL 34695)

                               NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST A HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 21 days from the date
set forth on the attached proof of service, plus an additional three days for service if any party
was served by U.S. Mail. If you object to the relief requested in this paper, you must file a
response with the Clerk of the Court at 801 N. Florida Ave., Suite 555, Tampa, FL 33602-3899
and serve a copy on the movant’s attorney, Richard M. Dauval, 3900 1st Street North, Suite 100,
Saint Petersburg, FL 33703, and any other appropriate persons within the time allowed.

If you file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing, or consider the response and grant or deny the relief requested without a
hearing.

If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice
or hearing, and may grant the relief requested.

         COMES NOW Richard M. Dauval, Chapter 7 Trustee, by and through the undersigned

counsel, and hereby moves for authority to sell certain improved real property, to pay secured

creditors and transactional costs, and in support thereof states as follows:




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                                       JURISDICTION

    1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

        1334.This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

        (M), (N) and (O).

    2. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

    3. The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b) and

        Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                       BACKGROUND

    4. On April 03, 2019, the Debtor commenced this case by filing a voluntary petition for

        relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

    5. Richard M. Dauval was appointed Chapter 7 trustee (the “Trustee”).

    6. The Debtor owns real property, by virtue of a deed, located at 615 6th Ave N Safety

        Harbor, FL 34695, more particularly known as:

Lot 14, Blue Springs, according to the map or plat thereof, as recorded in Plat Book 57, Page(s)
7, of the Public Records of Pinellas County, Florida.

(hereinafter the “Property”).

    7. The Trustee completed a title search and found that the Property is encumbered by a

        mortgage lien. By priority, but not including any outstanding property taxes or

        municipal liens, the Property is clouded as follows:

        a. a Mortgage Electronic Registration Systems, Inc. as nominee for Security Atlantic

            Mortgage Co. Inc. recorded in Official Records Book 16272, Page 59; together with

            Loan Modification Agreement recorded in Official Records Book 18662, Page 1978,

            which Mortgage is now held by Nationstar Mortgage, LLC, by virtue of




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       Assignment(s) of Mortgage recorded in Official Records Book 17863, Page 634.

       (the “Mr. Cooper”);

   b. a Mortgage in favor of Secretary of Housing and Urban Development in the original

       principal amount of $35,500.00, dated December 16, 2014 and recorded in Official

       Records Book 18662, Page 1985. (“HUD”)

8. The Trustee has accepted an offer from Kenneth Hook (the Buyer(s)) to purchase the

   Property for the gross sale price $ 182,500.00 (which includes a 11 U.S.C. § 506(c)

   surcharge (or, “carve out”) of $ 7,500.00, subject to the approval of the secured creditors

   and the court, as payment in full. The Trustee believes it is a fair offer for the current

   economy, the condition of the Property, and the length of time the Property has

   remained on the market.

9. Any current real property taxes will be paid prorated.

10. The gross sale price of $ 182,500.00, net the closing costs is estimated to be enough to

   satisfy the outstanding liens, as agreed to by the secured creditors, that encumber the

   property and net the estate at least $ 7,500.00. If the secured creditors no longer consent

   to their proposed treatment they are hereby on notice that they need to object to the

   proposed sale of the Property.

11. The Trustee has attached a “DRAFT” Settlement Statement that outlines the proposed

   distribution of the sale proceeds at closing, as Exhibit A.

                               AUTHORITY TO SELL

12. Pursuant to § 363(b)(1) of the Bankruptcy Code, a trustee, after notice and hearing, may

      use, sell or lease property of the estate other than in the ordinary course of business.

                                         CONCLUSION




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    13. The Trustee, in the exercise of his business judgment, believes, and therefore avers, that

        the proposed sale is in the best interest of the creditors of the bankruptcy estate insofar

        as there is otherwise no equity in the Property, the Trustee is more familiar with the

        current market than other interested parties, and a sale under this motion serves the best

        interest of all interested parties, including the secured creditors. The Buyer has agreed,

        subject to Court approval, to pay to the Trustee the gross sum of $ 182,500.00 in

        exchange for estate’s interest in the Property.

   WHEREFORE, the Trustee moves for the entry of an order:

   A. Authorizing the sale of the Property and,

   B. Authorizing the Trustee to take any all actions and to execute any and all documents

       necessary and appropriate to effectuate and consummate the terms of said sale of the

       estate’s interest in the Property including without limitation, executing a deed conveying

       the interests of the Debtor to the Buyer, or its assigns, or ultimate purchaser;

   C. Authorizing the Trustee and any escrow agent upon the Trustee’s written instruction,

       shall be authorized to make such disbursements on or after the closing of the sale as are

       required by the purchase agreement or order of this Court, including, but not limited to,

       (a) all delinquent real property taxes and outstanding post-petition real property taxes

       pro-rated as of the closing with respect to the real property included among the purchased

       assets (b) any outstanding Home Owner’s Association fee or assessment arrearages (if

       any); and (c) other anticipated closing costs:

        Total Sales/Brokers Commission:
        6% of base sale price to Future Home Realty                        $ 10,950.00*
*this commission is intended to be shared with a cooperating agent / negotiator.
        Title Charges:                                                     $ 2,231.25
        Government recording / transfer charges:                           $ 1,277.50
        Satisfaction of Liens:



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              Mr. Cooper                                                        $ 132,200.49
              HUD                                                               $ 35,000.00
        Ocean Title, LLC Wire Fee:                                              $ 60.00

The above anticipated closing costs and taxes are subject to per diem charges, changes in

prorations, and otherwise represent approximate amounts. The Trustee seeks authority to pay

these amounts, or their reasonable equivalent amounts, to the respective payees depending on the

subjective per diem alteration, and

    D. Granting the Trustee such other and further relief as is just and proper.

                                                Respectfully submitted,

                                                 /s/ Richard M. Dauval, Esquire
                                                Richard M. Dauval, Esq.
                                                Leavengood, Dauval, Boyle & Meyer, P.A.
                                                3900 1st Street North, Suite 100
                                                Saint Petersburg, FL 33703
                                                727-327-3328 x303

                                  CERTIFICATE OF SERVICE

       I certify that on August 15, 2019, a true and correct copy of the foregoing was provided
by U.S. mail and/or electronic delivery to:
U.S. Trustee, USTPRegion21.TP.ecu@usdoj.gov
Karin D. Case, 2522 Ochatilla Road, Holiday, Fl 34691
Howard Iken, howard@myfloridalaw.com
Nationstar Mortgage, LLC d/b/a Mr. Cooper, c/o Nathalie Rodriguez, Esq.,
nrodriguez@rasflaw.com
Attorney General of the United States, U.S. Department of Justice, 950 Pennsylvania Avenue,
NW, Washington, DC 20530-0001
U.S. Attorney’s Office (HUD), P.O. Box 197, Montgomery, AL 36101-0197
U.S. Dept. of Housing & Urban Development, Regional Counsel, Region IV, 5 Points Plaza, 40
Marietta Street, Atlanta, GA 30303-2806

and all parties of interest that have filed a proof of claim in this case or filed a notice of
appearance pursuant to Rule 2002-1(c) on this August 15, 2019.

                                                        /s/ Richard M. Dauval, Esquire
                                                        Richard M. Dauval, Esq.




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